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                                                                                           FILED
                                                                                         U.S. OISrRIC T COURT
                                    IN THE UNITED STATES DISTRICT COURT              EASTERN 015TrttCT ARKANSAS

                                        EASTERN DISTRICT OF ARKANSAS                       JUN 0 6 Z014
                                              WESTERN DISTRICT
                                                                              JAMES W. M~RMACK, CLERK
         MICHELLE DAY, ADMINISTRATOR                                           By:                II,[}   DEP CLERK

         OF THE ESTATE OF JAMES AVERY
         DEWEESE, SR. AND ON BEHALF OF
         THE WRONGFUL DEATH BENEFICIARIES
         OF JAMES A VERY DEWEESE, SR;
         RUTH DEWEESE, INDIVIDUALLY; and
         MICHELLE DAY, INDIVIDUALLY                                                        PLAINTIFFS

         vs.                              CASE NO.      L\'.\l.\ c\134~ \~Gi}
         UNITED STATES OF AMERICA                                                         DEFENDANT

                                                   COMPLAINT

                      Comes the Plaintiffs, Michelle Day, as Administrator of the Estate of

         James Avery Deweese, Sr., deceased, and on behalf of the wrongful death

         beneficiaries of James Avery Deweese, Sr., Ruth Deweese, Individually, and

         Michelle Day, Individually, by counsel, and for their cause of action)lyrein,
                                                         'fhis case assigned to District Judr;g_~~c,j{e(
         states as follows:                              and t;· \·ll:-lph:lr:-·, , ,. , ,       \leA~.
                                                  JURISDICTION

                      1.      This Court has original jurisdiction pursuant to 28 U.S.C. § 2401,
     ..;~~"{" .·· '
         erseq.        and 28 U.S.C. § 1346, the Federal Tort Claims Act.

                      2.      That at all times relevant hereto, Plaintiffs' Decedent, James Avery

         Deweese, Sr., was a resident of the state of Arkansas, residing in Beebe, White

         County, Arkansas.
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          3.     The Defendant, the United States of America, may be served with

    process in accordance with Rule 4(i) of the Federal Rules of Civil Procedure by

    serving a copy of the Summons and the Complaint on Christopher R. Thyer,

    United States Attorney for the Eastern District of Arkansas, by certified mail,

    return receipt requested at his office, United States Attorney's Office, 425

    West Capitol Avenue Suite 500, Little Rock, AR 72201, to the attention of the

    Civil Process Clerk, and by serving a copy of the Summons and Complaint on

    Eric H. Holder, Jr., Attorney General's Office, Department of Justice, 950

    Pennsylvania Avenue, NW, Washington DC 20530-0001, to the attention of

    the Civil Process Clerk.

          4.     The Federal District Court has jurisdiction of this case, because this

    action is brought pursuant to and in compliance with 28 U.S.C. § 1346(b) and

    2671-2680 et seq., commonly known as the "Federal Tort Claims Act" which

    vests exclusive subject matter jurisdiction of Federal Tort Claims litigation in the

    Federal District Court.

          5.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(e), as

    the United States is a Defendant and all of the events or omissions giving rise

    to the claim occurred in this district.




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                               FACTUAL BACKGROUND

         6.       On October 31, 2011, James Avery Deweese, Sr. went to the

Veteran's Administration Hospital, located at 4300 West 7th Street in Little

Rock, AR, and had a CT scan on his liver.

         7.       The October 31, 2011 CT Scan was misread by the VA medical

staff.

         8.       There was a stage 1 tumor present on this scan that was not

identified by VA medical staff at the time the scan was taken on October 31,

2011.

         9.       If the tumor had been identified at this time, Mr. Deweese could

have undergone treatments, because on October 31, 2011, the tumor was

confined, had not invaded any blood vessels and had not spread.

         10.      Mr. Deweese received care from Home Based Primary Care (HBPC),

the home health care group that is supervised by VA physicians, following the

October 31 , 2011 CT Scan.

         11.     The HBPC care providers failed to recognize the signs of

hepatocellular carcinoma during the period in which they provided care to Mr.

Deweese.

         12.     Mr. Deweese returned to the VA on July 7, 2013.      On July 12,

2013, Mr. Deweese had another CT Scan.

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      13.    The chief of surgery, Dr. Gocieo, informed Mr. Deweese's family

that the October 31, 2011 CT Scan was misread and Mr. Deweese had cancer

for "about two years."

      14.    When compared to the October 31, 2011 CT Scan, it is obvious

that the tumor was enlarged on the July 12, 2013 CT Scan.

      15.    There was also a change in the blood vessels, indicating a blockage

of the vessels.

      16.    On or abour July 12, 2013, the VA doctors said that Mr. Deweese

was too weak to undergo treatments at this time.        As a result, there was

nothing they could do to prevent Mr. Deweese's death.

      17.     Mr. Deweese died on July 22, 2013 in the VA as a result of the

cancer.

      18.    Michelle Day was appointed Administrator of the Estate of James

Avery Deweese, Sr., pursuant to an Order of the Circuit Court of White County,

Arkansas, No. PR-2013-280-1, dated October 16, 2013.

               LIABILITY OF THE UNITED STATES OF AMERICA

      19.    This case is commenced and prosecuted against the United States

of America pursuant to and in compliance with Title 28 U.S.C. § § 2671-2680,

commonly referred to as the "Federal Tort Claims Act." Liability of the United

States is predicated specifically on Title 28 U.S.C. § § 1346(b)( 1) and 2674

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because the medical malpractice, personal injuries, and resulting damages of

which complaint were made were proximately caused by the negligence,

wrongful acts and/or omissions of employees of the Veterans Administration

("VA") Medical Center in Little Rock, Arkansas, while acting within the scope

of their office or employment, under circumstances where the United States of

America, if a private person, would be liable to the Plaintiffs in the same

manner and to the same extent as a private individual under the laws of the

state of Arkansas.

      20.   In this Complaint, whenever the term "U.S. Defendant" is used, it

means the United States, its officers, agents, servants, employees, and/or

representatives. Whenever in this Complaint it is alleged that U.S. Defendant

did any act or thing, it is meant that the United States, its officers, agents,

servants, employees, and/or representatives did such act or thing, and that at

the time such act or thing was done, it was done with the full authorization and

ratification of the United States and was done in the normal and routine course

and scope of employment of the United States' officers, agents, servants,

employees, and/or representatives.

      21.   Whenever in this Complaint it is alleged that U.S. Defendant

omitted any act or thing, it is meant that Defendant, the United States, its




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officers, agents, servants, employees, and/or representatives omitted such act

or thing.

                         JURISDICTIONAL PREREQUISITES

        22.    Plaintiffs bring this action pursuant to Title 28 U.S.C. § 2672 and

§ 2675(a), and states that the claims set forth herein were filed with and

presented administratively to the Defendant's agency, Department of Veterans

Affairs, on October 25,2013.

        23.    Claim forms were filed on behalf of James Avery Deweese, Sr.,

Deceased, by Michelle Day, Administrator of the Estate of James Avery

Deweese Sr.; Michelle Day, Individually; and Ruth Deweese, Individually

        24.    The three SF-95 claims, with select attachments to the claim forms

(all three claim forms shared the same attachments), are attached to the

Complaint as Exhibit A.

        25.    Attached as Exhibit 8 is a letter from the Department of Veterans

Affairs     Paralegal,   Kala   Bunten-Jackson,       dated   November   5,   2013,

acknowledging receipt of the administrative claims in this case on October 25,

2013.

        26.    Attached as Exhibit C is a letter from Department of Veterans

Affairs     Staff   Attorney,   Gayle   B.   Sipes,   dated   November   6,   2013,




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acknowledging receipt of the three administrative claims in this case on October

25, 2013.

      27.    Plaintiffs did not receive a denial of this claim prior to April 25,

2014, the date which marked six months since the filing of the claims.

      28.    Plaintiffs received a letter from VA Interim Regional Counsel Sonya

Marie Cromwell, dated May 28, 2014, in which their claims were denied. See

Exhibit D.

      29.    Pursuant to 28 U.S.C.A. § 2675, Plaintiffs assert that the claims

submitted on October 25, 2013 have been denied, and that she may now

properly file this FTCA claim in this Court.

              THE DEPARTMENT OF VETERANS AFFAIRS IS AN
               AGENCY OF THE UNITED STATES OF AMERICA

      30.    The Department of Veterans Affairs is an agency of the United

States of America.

      31.    Defendant, United States of America, through its agency, the

Department of Veterans Affairs, at all times material hereto, owned, operated

and controlled the Veterans Administration Hospital in Little Rock, Arkansas,

through its agency, the Department of Veterans Affairs, staffed said facility

with its agents, servants, and/or employees.




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      32.   Home Based Primary Care (HBPC) is a home health care group that

provided care to James Deweese, and HBPC care providers are agents,

servants, and/or employees of the United States of America, through its

agency, the Department of Veterans Affairs.

      33.   At all times herein, all persons involved in the medical and health

care services provided to James Avery Deweese, Sr., at the Little Rock VA

Hospital, and by and through HBPC, were agents, servants and employees of

the Department of Veterans Affairs, the United States of America or some other

agency thereof and were at all times material hereto, acting within the course

and scope of such employment.

      34.   This is a Federal Tort Claims Action for monetary damages

sustained by Plaintiffs' decedent as the result of Defendant's substandard, and

therefore, negligent medical care.


                     COUNT I - MEDICAL NEGLIGENCE

      35.   As a cause of action and ground for relief, Plaintiffs allege the

factual matters described in the previous paragraphs of the Complaint as part

of this count.

      36.   Plaintiffs allege that the acts and/or omissions of the agents,

servants, and/or employees of the United States, through its agency the VA,



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in failing to properly diagnose James Avery Deweese, Sr., described above,

constitute medical negligence.

       37.     The United States, through the agents, servants and employees of

its agency the VA, is guilty of negligence, which was a proximate cause of the

injuries and damages sustained by Plaintiffs.

       38.     The U.S. Defendants and its agents, servants, and/or employees,

failed to meet the standard of care in their treatment of James Avery Deweese,

Sr.

       39.     The U.S. Defendants and its agents, servants, and/or employees

breached the duty owed to James Avery Deweese, Sr., and said negligence

was a deviation for the standard of care for medical care providers under these

circumstances. The negligence consisted of, but is not limited to, the following,

VIZ:


       a.      The U.S. Defendants and its agents, servants, and/or employees
               breached the standard of care owed to James Avery Deweese, Sr.

       b.      The conduct of the U.S. Defendants and its agents, servants,
               and/or employees fell below the standard of care required for
               similar medical care providers in places similar to Little Rock,
               Pulaski County, Arkansas, and Beebe, White County, Arkansas,
               and, therefore, this constitutes medical negligence.

       c.      The U.S. Defendants and its agents, servants, and/or employees
               failed to properly diagnose James Avery Deweese, Sr. and failed to
               possess and apply with reasonable care, the degree of skill and
               learning ordinarily possessed and used by members of their

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            professions in good standing, engaged in the same type of specialty
            in the locality in which they practiced, or in a similar locality.

      d.    The U.S. Defendants and its agents, servants, and/or employees
            are otherwise guilty of negligence which will be more particularly
            described during the course of litigation.

      40.   In rendering medical services, examinations, treatments, diagnoses

and medical care for James Avery Deweese Sr., the U.S. Defendant, and

through its agents, servants and employees, failed to exercise the degree of

care and skill that would be expected of an ordinarily prudent or reasonably

competent physician or health care provider under like or similar circumstances.

      41.   As a result of the failure of the U.S. Defendant, and through its

agents, servants and employees, all as described above, in rendering medical

services, examinations, treatments and diagnoses, Plaintiffs' decedent, James

Avery Deweese, Sr. suffered severe personal injury and death.

                       COUNT II - WRONGFUL DEATH

      42.   As a cause of action and ground for relief, Plaintiffs allege the

factual matters described in the previous paragraphs of the Complaint as part

of this count.

      43.   As a direct and proximate result of the previously alleged conduct,

all of which caused the death of decedent, James Avery Deweese, Sr., the

Defendants caused the death of James Avery Deweese, Sr.



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        44.   Plaintiffs pray for compensatory damages against the Defendants

for the wrongful death of James Avery Deweese, Sr., including, but not limited

to, the grief suffered, as well as the expense of the funeral and other related

cost.

        45.   As a direct and proximate result of the death of James Avery

Deweese, Sr., Plaintiffs seek a judgment for all compensatory damages against

the Defendants, including, but not limited to, loss of enjoyment of life, the loss

of life, as well as funeral expenses, and related costs against the Defendants

in an amount to be determined by the jury, plus cost and all other relief to

which the Plaintiffs may be entitled, including, but not limited to, the claims on

behalf of the wrongful death beneficiaries of the decedent, and for any and all

other damages that the Plaintiffs and beneficiaries are entitled to recover.

Plaintiffs sue for, pursuant to the wrongful death statute, pecuniary injuries

sustained by the beneficiaries under the wrongful death statute, together with

mental anguish on behalf of the beneficiaries of the decedent under the

wrongful death statute.

                                   DAMAGES

        46.   Plaintiffs, demand judgment against the United States of America

for the personal injury to and wrongful death of James Avery Deweese, Sr., for

the medical and related expenses, necessary and related to the care of

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Plaintiffs' decedent's condition, for physical pain and mental anguish suffered

by the Plaintiffs' decedent, for impairment of the Plaintiffs' decedent's power

to earn money, for Plaintiffs' decedent's extreme emotional distress, and for

permanent and total impairment of the Plaintiffs decedent's power and ability

to       enjoy   life,   and   for   funeral   expenses,    in   the   aggregate   sum   of

$30,000,000.00, and for any and all other relief to which Plaintiffs may be

entitled, including her costs herein expended, a reasonable attorney's fee, pre-

judgment and post-judgment interest on all sums awarded.

          4 7.   Ruth Deweese asserts a loss of consortium claim due to the injuries,

damages, and wrongful death suffered by James Avery Deweese, Sr.


                                               MICHELLE DAY, ADMINISTRATOR OF
                                               THE ESTATE OF JAMES AVERY
                                               DEWEESE, SR. AND ON BEHALF OF THE
                                               WRONGFUL DEATH BENEFICIARIES OF
                                               JAMES AVERY DEWEESE, SR; RUTH
                                               DEWEESE.    IN~UA!f;:Y              ~              "{

                                               By:    DAVIDA.~((?
                                                      Attorney at Law
                                                                                              ~
                                                                                              1_1/f<'
                                                      212 Center Street, Fifth Floor              ( -
                                                      Little Rock, AR 72201-2429
                                                      Arkansas Bar No. 65021
                                                      Telephone: 501-374-2400
                                                      Facsimile: 501-374-8926
                                                      E-Mail: david@hodgeslaw .com




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              CLAIM FOR DAMAGE,                                         INSTRUCTIONS:            Please read carefully the instructions on the             FORM APPROVED
                                                                        reverse side and supply information requested on both sides of this                OMS NO. 1105-0008
               INJURY, OR DEATH                                         form. Use additional sheet(s) if necessary. See reverse side for
                                                                        additional instructions.
 1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimanfs personal representative if any.
                                                                                                        (See instructions on reverse). Number, Street, City, State and Zip code.

 United States Department of Veterans Affairs                                                        James Avery Deweese, Sr., Deceased, by Michelle Day,
                                                                                                     Administrator of the Estate of James Avery Deweese Sr.
                                                                                                     400 East Oklahoma Street, Beebe, AR 72012


 3. TYPE OF EMPLOYMENT                   14. DATE OF BIRTH             5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.)

      CZI MILITARY 0        CIVILIAN          01/22/1936               Married                       10/31/2011                      Monday               11:37 AM
 8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
    the cause thereof. Use additional pages if necessary).


 Please see Attachment A.




 9.                                                                                PROPERTY DAMAGE

 NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).



 BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
 (See instructions on reverse side).




10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

See "Basis of Claim" Attachment A, incorporated by reference into this section. Mr. Deweese suffered a loss of enjoyment of
life over the two years between the two CT Scans. Mr. Deweese died from hepatocellular carcinoma, which was not identified
for nearly 2 years after the VA medical staff failed to identify the tumor on the October 31, 2011 CT Scan. Mr. Deweese's death
has also resulted in Ruth Deweese's suffering from a loss of consortium and a loss of companionship.
11.                                                                                     WITNESSES

                               NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)

                        Michelle Day                                                                400 E. Oklahoma St. Beebe, AR 72012
                       Ruth Deweese                                                                       P.O. Box 514 Beebe, AR 72012


12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                          forfeiture of your rights)

                                           $5,000,000.00                                       $5,000,000.00                          $10,000,000.00
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETILEMENT OF THIS CLAIM.

                                                                                                    13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE


                                                                                                    501-288-4101                                              lO/ll /\3
                                                                                                                 CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                                                                                                      CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine, tmprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 31lmes the amount of damages sustatned
by the Government. (See 31 U.S.C. 3729).

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Previous Edition is not Usable                                                                                                                PRESCRIBED BY DEPT. OF JUSTICE
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                                                                                   INSURANCE COVERAGE

 In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 15. Do you carry accident Insurance?      D Yes        If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number          [g]   No




 16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?    0   Yes     [g] No      17. If deductible, state amount.




 18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).




 19. Do you carry public liability and property damage insurance?     D Yes        If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).    [g] No




                                                                                        INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                          Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                     DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                              INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                     THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                     lWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
Is deemed presented when It is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is                (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemiled signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and              B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.                C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
   A. Authority: The requested information is solicited pursuant to one or more of the               submittmg this form for this information.
       following: 5 U.S. C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.         D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
        Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                          PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reportmg burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing Instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget Do not ma1l completed
form(s) to these addresses.

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                                ATTACHMENT A

8. Basis of Claim

       Claimant alleges that the VA healthcare providers referred to in this claim
 are federal employees, acting within the scope of their employment, or,
 alternatively, that they were independent contractors who were controlled by
the V A/federal government.
       On October 31, 2011, James Avery Deweese, Sr. (hereinafter Mr.
 Deweese} went to the VA, located at 4300 West 7th Street in Little Rock, AR,
and had a CT scan on his liver. There was a stage 1 tumor present on this
scan. The tumor was confined, had not invaded any blood vessels and had not
spread. However, the October 31, 2011 CT Scan was misread by the VA
medical staff and the tumor was not identified. If the tumor had been identified
at this time, Mr. Deweese could have undergone treatments.
       Mr. Deweese received care from Home Based Primary Care (HBPC}, the
home health care group that is supervised by VA physicians, following the
October 31, 2011 CT Scan. The HBPC care providers failed to recognize the
signs of hepatocellular carcinoma during the period in which they provided care
to Mr. Deweese.
       Mr. Deweese returned to the VA on July 7, 2013. On July 12, 2013,
Mr. Deweese had another CT Scan. The chief of surgery, Dr. Gocieo, informed
Mr. Deweese's family that the October 31, 2011 CT Scan was misread and Mr.
Deweese had cancer for "about two years." When compared to the October
31, 2011 CT Scan, it is obvious that the tumor was enlarged on the July 12,
2013 CT Scan. There was also a change in the blood vessels, indicating a
blockage of the vessels. The VA doctors said that Mr. Deweese was too weak
to undergo treatments at this time. As a result, there was nothing they could
do to prevent Mr. Deweese's death. Mr. Deweese died on July 22, 2013 in the
VA as a result of the cancer.

      The following documents are attached in support of this claim:

      -Medical records from Central Arkansas Veterans Healthcare Center
      covering the time periods of October 31, 2011 until Mr. Deweese's death
      in July of 2013.

      -Autopsy Report form Central Arkansas Veterans Healthcare Center

       Claimants include numerous medical records, and incorporate all of the
attached records as part of the basis of their claim, however, Claimants believe
that the medical records Bates numbered 137-50 are especially relevant.
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                CLAIM FOR DAMAGE,                                        INSTRUCTIONS: Please read carefully the instructions on the                        FORM APPROVED
                                                                         reverse side and supply information requested on both sides of this                OMB NO. 1105-0008
                 INJURY, OR DEATH                                        form. Use additional sheet(s) if necessary. See reverse side for
                                                                         additional instructions.
 1 Submit to Appropriate Federal Agency:                                                             2. Name, address of claimant, and claimant's personal representative 1f any.
                                                                                                        (See instructions on reverse). Number, Street, City, State and Zip code.

 United States Department of Veterans Affairs                                                        Michelle Day
                                                                                                     400 East Oklahoma Street, Beebe, AR 72012



 3. TYPE OF EMPLOYMENT                   14. DATE OF BIRTH             5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                           7. TIME (A.M. OR PM.)

      (ZI   MILITARY   0    CIVILIAN          01/22/1936               Married                       10/31/2011                      Monday                11:37 AM
 8 BASIS OF CLAIM (State 1n detail the known facts and circumstances attending the damage, injury, or death, Identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).


 Please See Attachment A to SF-95 Form submitted by Michelle Day in her capacity as Administrator of the Estate of James
 Avery Deweese, Sr., Deceased.




 9.                                                                                PROPERTY DAMAGE
 NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).



 BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
 (See instructions on reverse side).




10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME .
OF THE INJURED PERSON OR DECEDENT.

See "Basis of Claim", section 8, incorporated by reference into this section. Mr. Deweese suffered a loss of enjoyment of life
over the two years between the two CT Scans. Mr. Deweese died from hepatocellular carcinoma, which was not identified for
nearly 2 years after the VA medical staff failed to identify the tumor on the October 31, 2011 CT Scan. Mr. Deweese's death
has also resulted in Ruth Deweese's suffering from a loss of consortium and a loss of companionship.
11.                                                                                     WITNESSES

                               NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)

                        Michelle Day                                                                 400 E. Oklahoma St. Beebe, AR 72012
                       Ruth Deweese                                                                      P.O. Box 514 Beebe, AR 72012


12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                          forfeiture of your rights).

                                           $5,000,000.00                                       $5,000,000.00                           $10,000,000.00
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side).                                      13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE

  '-{'<\~ c~                                                                                        501-288-4101                                               \0(\l/\2>
                              CIVIL PENAL~OR PRESENTING                                                          CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                    FRAUDULENT CLAIM                                                                  CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5.000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government (See 31 U.S C. 3729)

Authorized for Local Reproduction                                               NSN 7540-00-634-4046                                          STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable                                                                                                                PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                              28 CFR 14.2
95-109
                              Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 17 of 26
                                                                                  INSURANCE COVERAGE

 In order that subrogation claims may be adjudicated, it is essential that the cla1mant provide the following information regarding the insurance coverage of the vehicle or property.

 15 Do you carry accident Insurance?       D    Yes     If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number            [gj   No




 16 Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?    DYes        [gj No      17. If deductible, state amount




 1B. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).




19. Do you carry public liability and property damage insurance? D        Yes     If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).     [8J No




                                                                                       INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                         Complete all items -Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY. PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                    JWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within               The amount claimed should be substanbated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                          written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                 nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                 and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse    hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations. Part 14.
Many agencies have published supplementing regulations. If more than one agency is               (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                              repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                 by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                 receipts evidencing payment
The claim may be fdled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or            the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be      cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant        after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                     preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                 two or more competitive bidders, and should be cerbfied as being just and correct

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                               (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                 forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and             B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.               C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the             submitting this form for this information.
       following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.         D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
        Part 14.                                                                                    requested information or to execute the form may render your claim ''Invalid"

                                                                         PAPERWORK REDUCTION ACT NOTICE

This nobce is~ for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and complellng and reviewing the collecbon of
information. Send comments regarding this burden estimate or any other aspect of th1s collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget Do not mail completed
form(s) to these addresses.

                                                                                                                                          STANDARD FORM 95 REV. (212007) BACK
       Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 18 of 26



8. Basis of Claim

       Claimant alleges that the VA healthcare providers referred to in this claim
 are federal employees, acting within the scope of their employment, or,
 alternatively, that they were independent contractors who were controlled by
 the VA/federal government.
       On October 31, 2011, James Avery Deweese, Sr. (hereinafter Mr.
 Deweese) went to the VA, located at 4300 West 7th Street in Little Rock, AR,
and had a CT scan on his liver. There was a stage 1 tumor present on this
scan. The tumor was confined, had not invaded any blood vessels and had not
spread. However, the October 31, 2011 CT Scan was misread by the VA
medical staff and the tumor was not identified. If the tumor had been identified
at this time, Mr. Deweese could have undergone treatments.
       Mr. Deweese received care from Home Based Primary Care (HBPC), the
home health care group that is supervised by VA physicians, following the
October 31, 2011 CT Scan. The HBPC care providers failed to recognize the
signs of hepatocellular carcinoma during the period in which they provided care
to Mr. Deweese.
       Mr. Deweese returned to the VA on July 7, 2013. On July 12,2013,
Mr. Deweese had another CT Scan. The chief of surgery, Dr. Gocieo, informed
Mr. Deweese's family that the October 31, 2011 CT Scan was misread and Mr.
Deweese had cancer for "about two years." When compared to the October
31, 2011 CT Scan, it is obvious that the tumor was enlarged on the July 12,
2013 CT Scan. There was also a change in the blood vessels, indicating a
blockage of the vessels. The VA doctors said that Mr. Deweese was too weak
to undergo treatments at this time. As a result, there was nothing they could
do to prevent Mr. Deweese's death. Mr. Deweese died on July 22, 2013 in the
VA as a result of the cancer.
       Michelle Day, individually, also incorporates by reference, the documents
attached in support of the claim for sumbitted by Michelle Day in her capacity
as Administrator of the Estate of James Avery Deweese, Sr.
                              Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 19 of 26
                 CLAIM FOR DAMAGE,                                        INSTRUCTIONS: Please read carefully the instructions on the                       FORM APPROVED
                                                                          reverse side and supply information requested on both sides of this               OMB NO. 1105-0008
                  INJURY, OR DEATH                                        form. Use additional sheet(s) if necessary. See reverse side for
                                                                          additional instructions.
 1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                        (See instructions on reverse) Number, Street, City, State and Zip code.

 United States Department of Veterans Affairs                                                        Ruth Deweese
                                                                                                     P.O. Box 514 Beebe, AR 72012



 3 TYPE OF EMPLOYMEN""~                  14. DATE OF BIRTH                5. MARITAL STATUS          6. DATE AND DAY OF ACCIDENT                           7. TIME (A.M. OR P.M.)

       [ZI   MILITARY   D ciVILIAN I          01/22/1936                  Married                    10/31/2011                      Monday                11:37 AM
 B. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
    the cause thereof Use addibonal pages if nece11sary).


 Please See Attachment A to SF-95 Form submitted by Michelle Day in her capacity as Administrator of the Estate of James
 Avery Deweese, Sr., Deceased.




 9.                                                                                 PROPERTY DAMAGE
 NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).



BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).




 10.                                                                      PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

See "Basis of Claim", section 8, incorporated by reference into this section. Mr. Deweese suffered a loss of enjoyment of life
over the two years between the two CT Scans. Mr. Deweese died from hepatocellular carcinoma, which was not identified for
nearly 2 years after the VA medical staff failed to identify the tumor on the October 31, 2011 CT Scan. Mr. Deweese's death
has also resulted in Ruth Deweese's suffering from a loss of consortium and a loss of companionship.
11                                                                                      WITNESSES

                               NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)

                        Michelle Day                                                                 400 E. Oklahoma St. Beebe, AR 72012
                        Ruth Deweese                                                                      P.O. Box 514 Beebe, AR 72012


12 (See instructions on reverse).                                             AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                     12d. TOTAL (Failure to specify may cause
                                                                                                                                           forfeiture of your rights).

                                           $5,000,000.00                                       $5,000,000.00                           $10,000,000.00
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13a SIGNATURr"' T                        InStructions on reverse side).                             13b. PHONE NUMBER OF PERSON SIGNING FORM 14. D7~~NATURE

                                                                                                      50 1- ~ ~ 1- 6 2 I o                                     /I
                              CIVIL PENALTY FOR PRESENTING                                                       CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                    FRAUDULENT CLAIM                                                                  CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10.000, plus 3 times the amount of damages sustained
by the Government. (See 31 U S.C 3729).

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Previous Edition is not Usable                                                                                                                 PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                               28CFR 14.2
95-109
                             Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 20 of 26

                                                                                   INSURANCE COVERAGE

 In order that subrogation cla1ms may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the veh1cle or property.

 15 Do you carry accident Insurance?       0    Yes     If yes, give name and address of insurance company (Number, Street, C1ty, State, and Zip Code) and pohcy number. ~ No




 16. Have you filed a claim With your insurance carrier in this instance, and if so, is it full coverage or deductible?    0   Yes     [8] No      17. If deductible, state amount.




 18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).




19. Do you carry public liability and property damage insurance?      0    Yes     If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).    ~No




                                                                                        INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                          Complete all items- Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                     DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                              INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                     THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                     JWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim Invalid. A claim
is deemed presented when it Is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is                (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If cla1mant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
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    A Authority: The requested information is solicited pursuant to one or more of the               submitting this form for this information.
       following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.          D. Effect of Failure to Respond: Disclosure is voluntary. However, fa1lure to supply the
        Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                          PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U .S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, includ1ng the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, includ1ng suggestions for reducing this burden, to the Director. Torts
Branch, Attention. Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
forrn(s) to these addresses

                                                                                                                                           STANDARD FORM 95 REV (212007) BACK
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8. Basis of Claim

        Claimant alleges that the VA health care providers referred to in this claim
 are federal employees, acting within the scope of their employment, or,
 alternatively, that they were independent contractors who were controlled by
 the VA/federal government.
        On October 31, 2011, James Avery Deweese, Sr. (hereinafter Mr.
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 medical staff and the tumor was not identified. If the tumor had been identified
 at this time, Mr. Deweese could have undergone treatments.
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home health care group that is supervised by VA physicians, following the
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Mr. Deweese had another CT Scan. The chief of surgery, Dr. Gocieo, informed
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VA as a result of the cancer.
       Ruth Deweese, individually, also incorporates by reference, the
documents attached in support of the claim for sumbitted by Michelle Day in
her capacity as Administrator of the Estate of James Avery Deweese, Sr.
           Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 22 of 26

                              Department of Veterans Affairs
                               Office of Regional Counsel
                              2200 Fort Roots Drive, Bldg 5
                               North Little Rock, AR 72114
                                Telephone (501)-257-4122
                                   Fax (501)257-4130
 CERTIFIED MAIL- RETURN RECEIPT REQUESTED                     In Reply Refer To: 4589
November 5, 2013                                               Direct Line: 615-695-4628

 Mr. David A. Hodges
 Centre Place - Fifth Floor
 212 Center Street
 Little Rock, Arkansas 72201-2429

 Re: Administrative Tort Claim of James Avery Deweese, Sr.

 Dear Mr. Hodges:

We acknowledge receipt of the above-captioned claims which were received by our office on
October 25,2013. Under federal law, the Department of Veterans Affairs (VA) has six months
from receipt of a claim during which time no lawsuit may be filed on the claim. VA will
attempt to reach a decision during that period. If VA is unable to render a determination
within six months, you may elect to file suit in federal district court or you may continue to
await an agency decision. Once our investigation is completed, we will advise you of our deci-
sion in writing. Please note that Federal Tort Claims Act (FTCA) claims are governed by a
combination of federal and state laws. Some state laws may limit or bar a claim or law suit.
VA legal staff handling FTCA claims work for the federal government, and cannot provide
advice regarding the impact of state laws or state filing requirements. The attorney assigned to
investigate this claim is Gayle Sipes. If you have any questions, you may contact her at
501-257-4129.

It is important that you establish your authority to act as the duly authorized agent or legal
representative in this matter. Therefore, if you have not already done so, please provide a copy
of your representation agreement with your client's signature. If you do not provide this
information, this claim may be rejected or denied solely on that basis.

Depending upon the relevant facts, VA benefits may also be available. A brochure is enclosed
which describes the differences between a tort claim and a benefits claim and how each kind of
claim is processed.

This office will obtain all VA records related to this administrative tort claim. Information
from non-VA sources is important in evaluating the claim. Pursuant to 28 C.F.R. §14.4, we
request that you provide the information requested below. Your cooperation in providing this
additional information is appreciated.

 P)J~A$E DO .NOT SUBMIT ORIGINAL DOCUMENTATION AS J)OCUME!WS WILL
 BECOME
   ..
    '  . PART OF OUR PERMANENT .  FILE AND
                                        .  WILL NOT BE RETURNED
                                                          .     TO
 YOU.

a. An authenticated death certificate or other competent evidence showing cause of
   of death, and age of the decedent.
             Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 23 of 26
b. A signed Release of Information form (enclosed). Provide the names of any physicians or
   non-VA facilities where the decedent was treated for any condition related to the incident
  stated in your claim. This information will assist us in the investigation of your claim.
  Please sign and date the form.

c. A written report from any health care provider at non-VA facilities who treated the decedent
   for any condition related to the incident stated in the claim or who has provided an opinion
   related to the allegations in this claim. A report should describe the nature and extent of
   treatment, any degree of temporary or permanent disability, the prognosis, period of
   hospitalization, and any diminished earning capacity. In the alternative, copies of medical
   records may be sent.

d     Itemized bills for medical and hospital expenses incurred, or itemized receipts of payment
      for such expenses.

 e. If this claim includes loss of time from employment, provide a written statement from the
    employer showing time lost from employment, whether the decedent was a full or part-time
    employee, the decedent's annual salary or hourly wage, and the wages or salary actually
    lost.

 f. Provide the decedent's employment history for the past five years, including salary,
    employer, and job title.

 g. Provide copies of the decedent's income tax returns for the three years prior to death.

 h. Specify any and all income received prior to death from Social Security, private pension,
   disability compensation, and all other sources of compensation.

 1.   Itemized bills for medical and burial expenses incurred by reason of the incident causing death, or
      itemized receipts of payment for such expenses.

J. Provide evidence of decedent's employment or occupation at the time of death, including monthly or
   annual salary or earnings, if any, and the duration of decedent's last employment or occupation.

 k. Provide the full names, addresses, birth dates, kinship, and marital status of decedent's survivors,
      including those survivors who were dependent for support upon the decedent at the time of death.

 1. State the degree ofsupport afforded by the decedent to each survivor dependent upon decedent for
       support at the time of death.

 n. Provide any documents or information that supports the loss of consortium claims. If either claimant
    received any treatment for any condition related to their claims, please have them complete, sign, and
    date the enclosed authorization forms for each treating provider or facility.
          Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 24 of 26

Please forward any other evidence or information which may have a bearing on the
responsibility of the Unite tates for the damages claimed.

 ~~--)
KALA. BUNTEN-JA
Paralegal

Enclosures
                                                                                      5012574130      P.OOl/001
                                DEPT VETERANS AFFAIRS
 .
NOV-06-2013
      '
                 Case
              12:07       4:14-cv-00342-KGB   Document 1 Filed 06/09/14 Page 25 of 26

                                       Department of Veterans Affairs
                                           Office of Regional Counsel
                                        2200 Fort Roots Drive, Building 5
                                        North Little Rock, Arkansas 72114
                                               Phone 501-257-4122
                                                 Fax 501-257-4130




          November 6. 2013
                                          Fax: 501-374-8926

                                                                          Direct Line: 501-257-4129
                                                                          TP GCLaws 4589

          David A. Hodges, Esquire
          Centre Place - fifth Floor
          212 Center Street
          Fayetteville, Arkansas 72702

                           Re: Administrative Claim on behalf of James A very Deweese, Sr.


          Dear Mr. Hodges:

                   Thank you for your letter of October 25,2013. The tort claims you filed on behalf·
          th.e Estate of Mr. Deweese, Ruth Deweese and Michelle Day have been received in our
          office and have been accepted. I am the attorney who has been assigned to reView those
          claims.

                 Thank you also for agreeing to facilitate my meeting with Mrs. Deweese and Ms.
         Day. After I have obtained some medical reviews of the claims. I will contact you for
         that .meeting to be arranged.

                  If you have any questions, please do not hesitate to call me.

         Thank you.


         Sincerely,
         ~...L /:;_~
         ~~.~IPES
         Staff Attorney




                                                                                                      TOTAL P.001
               Case 4:14-cv-00342-KGB Document 1 Filed 06/09/14 Page 26 of 26

                                 Department of Veterans Affairs
                                  Office of Regional Counsel
                                2200 Fort Roots Drive, Building 5
                               North Little Rock, Arkansas 72114
                                   Telephone 501-257-4122
                                      Fax 501-257-4130
CERTIFIED MAIL
May28, 2014

Mr. David A. Hodges                                                            GCL: 4589
Attorney at Law
Centre Place - 5th Floor
212 Center Street
Little Rock, AR 722201-2429

Subject: Administrative Tort Claim of James Avery Deweese, Deceased

Dear Mr. Hodges:

This office has completed investigation of the above-referenced matter under the Federal Tort Claims Act
(FTCA). This claim, received by the Department of Veterans Affairs (VA) Regional Counsel on October 25,
2013, alleged providers were negligent for failure to identify and treat hepatocellular carcinoma for a two year
period of time. After careful consideration by this office, we have determined that your claim is not amenable
to administrative resolution. Accordingly, this claim is hereby denied.

Further action on this matter may be instituted in accordance with the FfCA, sections 1346(b) and 2671-2680,
title 28, U.S.C., which provides that a tort claim that is administratively denied may be presented to a federal
district court for judicial consideration. Such a suit must be initiated within six months of the date of mailing of·
this notice of final denial as shown by the date of this letter (section 2401(b), title 28, U.S.C.). If such a suit is
.fi1e4 the proper party defendant would be the United States, not VA .AitemativeJy~ a request fo.r
reconsideration of this claim by this office may be filed by: (1) mail to Office of General Counsel (021B), 810
Vermont Avenue, N.W., Washington, DC 20420; (2) fax to 202-273-6385; or (3) e-mail to
QQC,tqrts@mail.va.s;ov. VA must receive such a request within six months of the date of mailing of this notice
of final denial as shown by the date of this letter. If a request for reconsideration is made, VA shall have six
months from receipt of that req~ during which the option to file suit in federal oourt under 28 U.S.C. 2675(a) ·
is suspended.

Please note that FTCA claims are governed by a combination of Federal and state laws. Some state law8 may
limit or bar a claim or law suit. VA legal staff handling FfCA claims work for the Federal government, and
cannot provide advice regarding the impact of state laws or state filing requirements.

Sincerely yours,




Sonya Marie Cromwell
Interim Regional Counsel

cc: CA VHS, Litt1e Rock, Attn: QM
